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5                         UNITED STATES DISTRICT COURT
6                       EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                      No. 1:15-CR-2042-SAB-3
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9                      Plaintiff,                   ORDER GRANTING
10 vs.                                              DEFENDANT’S MOTION TO
                                                    EXPEDITE AND DENYING
11 JOSE GODINES,                                    MOTION FOR RELEASE
12
                       Defendant.
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     Date of bail review hearing: 09/09/2015
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           BEFORE THE COURT is Defendant’s Second Motion to Re-Open
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     Detention Hearing and Release Defendant on Condition (ECF No. 82) and Motion
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     to Expedite (ECF No. 83). The Government opposes the Motion due to the
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     unsuitability of the proposed residence. On September 9, 2015, the Court reopened
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     the bail hearing to consider the additional proffers of the Defendant and arguments
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     of counsel. 18 U.S.C. § 3142(f).
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           The Court has considered this additional information, which includes a
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     newly proposed residence of his aunt and uncle, and evaluated the four factors
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     outlined in 18 U.S.C. § 3142(g) to decide whether there were conditions of release
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     that would reasonably assure the Defendant’s appearance in court and the safety of
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     the community: (1) the nature and circumstances of the offense; (2) the weight of
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     evidence against the Defendant; (3) the history and characteristics of the
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     Defendant; and (4) the nature and seriousness of the danger the Defendant would
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     ORDER - 1
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1    present to the community if released. The Court finds that these factors, as set forth
2    orally by the Court, weigh in favor of the Defendant’s continued detention.
3          The Court finds a preponderance of the evidence remains that there are no
4    conditions or combination of conditions other than detention that will reasonably
5    assure the appearance of Defendant as required, and furthermore by clear and
6    convincing evidence there are no conditions or combination of conditions other
7    than detention that will ensure the safety of the community.
8          ACCORDINGLY IT IS ORDERED:
9          1. The Defendant’s Motion to Expedite (ECF No. 83) is GRANTED and
10   Defendant’s Motion for Release (ECF No. 82) is DENIED. Defendant shall
11   remain held in detention pending disposition of this case or until further order of
12   the court.
13         2. If the Defendant seeks review of this Order pursuant to 18 U.S.C. §
14   3145(b), attorney for Defendant shall file a written motion for revocation or
15   amendment of this Order within ten (10) days before the district judge to whom
16   this case is assigned and note it for hearing at the earliest possible date. Both
17   parties are responsible to ensure the motion is determined promptly.
18         DATED September 9, 2015.
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20                                s/James P. Hutton
                                 JAMES P. HUTTON
21                       UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
